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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     :
                                              :
      v.                                      :       No. 22-11-RJL-02
                                              :
DION RAJEWSKI,                                :
                                              :
             Defendant.                       :

                MOTION TO DISMISS OF COUNTS 5, 10 & 12
               IN THE SECOND SUPERSEDING INDICTMENT
                   FOR FAILING TO STATE AN OFFENSE

      Defendant, Dion Rajewski, by and through undersigned counsel, hereby

respectfully moves for the entry of an Order dismissing Counts 5, 10 and 12 of the

Second Superseding Indictment [54] pursuant to Rule 12(b) of the Federal Rules of

Criminal Procedure for failing to state an offense.

      In each of these counts, the government alleges a penalty enhancement based

on a “deadly or dangerous weapon,” a lachrymal agent, to wit OC/pepper spray.”

However, the lachrymal agent (“OC/pepper spray”) is not a “deadly or dangerous

weapon” within the meaning of the penalty enhancement and was not accurately

represented to the grand jury in this case. Under the two-pronged Arrington test,

the “deadly or dangerous weapon” must be (1) capable of causing serious bodily

injury, and (2) defendant must have “used” or “carried” OC/pepper spray with the

intent to cause serious bodily injury. See United States v. Arrington, 309 F.3d 40, 45

(D.C. Cir. 2002).

      Here, there was a lack of probable cause for the grand jury to conclude that

either prong was met. See Wolff, 840 F. Supp. at 323 (holding that a Rule 12(b)
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motion to dismiss is proper when there is a lack of probable cause to establish an

element of the offense at issue). (1) There is no evidence that the canister (MK-46)

contained OC/pepper spray or was operable because it was not sprayed or otherwise

activated therefore, it was not “capable of causing serious bodily injury,” and (2) Mr.

Rajewski did not “use” the MK-46 because he did not spray it, nor carry the

OC/pepper spray because he never touched the trigger of the canister or hold it in a

manner that would allow for the cannister to be used as a weapon. Underpinning

this motion is the government’s filing of a Notice of Errata on August 30, 2024,

(ECF 231) detailing this factual issue. Only after the defendant raised this issue did

the government review the evidence and realize that the cannister Mr. Rajewski

touched for mere seconds was not used in any way as a weapon on January 6th by

Mr. Rajewski or any other rioter that day.       Therefore, the charges against Mr.

Rajewski which reference the use of a dangerous or deadly weapon lack probable

cause as alleged. Moreover, it can be inferred from the government’s filing that

evidence of a different cannister, one Mr. Rajewski never touched or handled, was

improperly presented to the grand jury in support of the charges against Mr.

Rajewski. In light of this information, Counts 5, 10 & 12 lack probable cause and

should be dismissed against Mr. Rajewski.

                                       FACTS

      The “Deadly and Dangerous Weapon” Penalty Enhancement at Issue

         1.    In the Second Superseding Indictment [54], Mr. Rajewski is charged

with, among one other,1 the following statutory violations:

1


    The other statutory violation is Disorderly Conduct in the Capitol Grounds or
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           a. Entering and Remaining in a Restricted Building or Grounds with a
              Deadly or Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(1),
              (b)(1)(A), and (2) (Count 5);
           b. Disorderly and Disruptive Conduct in a Restricted Building or
              Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C.
              § 1752(a)(2), (b)(1)(A), and (2) (Count 10);
           c. Engaging in Physical Violence in a Restricted Building or Grounds
              with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. §
              1752(a)(4), (b)(1)(A) and (2) (Count 12).

      See United States v. Rajewski, Case No. 1:22-cr-00011-RJL, ECF 54, at 4, 6,

7.

      Each statutory violation has a penalty enhancement for the defendant’s use

or carrying of “a deadly and dangerous weapon.” See United States v. McHugh, No.

CR 21-453 (JDB), 2023 WL 2384444, at *4 (D.D.C. Mar. 6, 2023) (explaining that “a

violation of 18 U.S.C. § 1752 carries a harsher potential penalty if the person ‘uses

or carries a deadly or dangerous weapon.’ ”); United States v. Easterday, No. CR 22-

404 (JEB), 2024 WL 1513527, at *4 (D.D.C. Apr. 8, 2024) (the statute “imposes

greater penalties on a perpetrator who “uses or carries” a deadly or dangerous

weapon.”) (emphasis in original); United States v. Robertson, 610 F. Supp. 3d 229,

237 (D.D.C. 2022) (“The law increases these violations from misdemeanors to

felonies if ‘the person, during and in relation to the offense, uses or carries a deadly

or dangerous weapon.’”).

      2.      The grand jury charged Mr. Rajewski’s “use and carry” of “lachrymal

agent, to wit OC/pepper spray” as the “deadly and dangerous weapon.” See

Rajewski, Case No. 1:22-cr-00011-RJL, ECF 54, at 4, 6, 7.


Buildings, in violation of 40 U.S.C. § 5104(e)(2)(D) and 2 (Count 14). This violation does
not have a “deadly and dangerous weapon” penalty enhancement.
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     Mr. Rajewski’s Factual Conduct Relating to the OC/Pepper Spray

      In counsel’s view, a review of the available government evidence shows:

      A.     The OC/pepper spray canister (MK-46) touched by Mr. Rajewski was

being passed by several individuals from the rear of the crowd toward the U.S.

Capitol building.

      B.     The man immediately behind Mr. Rajewski held the MK-46 over Mr.

Rajewski’s head. Mr. Rajewski looked up at the MK-46 for approximately two

seconds, and then grabbed its handle – he never touched the trigger. The man

behind Mr. Rajewski then gestured with his hand for Mr. Rajewski to pass the MK-

46 to the man immediately in front of Mr. Rajewski. The man behind Mr. Rajewski

tapped on the arm of the man in front of Mr. Rajewski to get his attention. When

the man in front of Mr. Rajewski turned around, he took the MK-46 from Mr.

Rajewski, and continued passing it forward.

      C.     In total, Mr. Rajewski looked at the MK-46 for approximately two

seconds before grabbing onto its handle, (without touching the trigger) possessed

the canister for approximately seven seconds, and shared possession with the man

behind Mr. Rajewski for approximately one of those seven seconds.

      D.     Mr. Rajewski never sprayed the OC/pepper spray or otherwise

activated the MK-46 device. The device was never sprayed or discharged by Mr.

Rajewski or anyone else that day.

      E.     What happened to the MK-46 is now known based upon a letter

received by undersigned counsel from the government dated August 30, 2024.

(Exhibit 1 attached). This letter references video which shows that the cannister


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was promptly passed back to a rioter in a black winter hat and nobody ever sprayed

it, not that rioter or anyone else. The letter goes on to detail how that rioter in the

black winter hat then descended the stairs with the cannister, took it with him as

he descended the stairs by the tunnel and made his way to the West Plaza with the

cannister slung over his left shoulder. The government has no evidence that depicts

this rioter ever discharging the cannister at any time on January 6, 2021.

      This is in stark contrast to the allegations the government made against Mr.

Rajewski’s Co-defendant Zacharay Johnson. The government accused Mr. Johnson

was having passed up a cannister that was immediately discharged against police

officers. Mr. Johnson admitted this conduct in his statement of facts for his guilty

plea. Mr. Johnson admitted that, "after I passed the OC/pepper spray closer to the

Archway and the Tunnel, the OC/pepper spray was sprayed by another protester at

the UCSP officers protecting the Capitol building." See United States v. Johnson,

Case 1:22-cr-00011-RJL, ECF146 at 3. The government now admits that “Dion

Rajewski does not appear to use or carry the cannister that was discharged.” (See

Exhibit 1, page 1).

               The Expert Witness Report of Emanuel Kapelsohn
             Rendering Opinion on Dangerousness of Pepper Spray

      Co-defendant Zachary Johnson filed, as part of his Sentencing Memorandum,

an Expert’s Report as to the nature and effects of OC/pepper spray. See Report of

Emanuel Kapelsohn Rendering Opinion on Dangerousness of Pepper Spray

(“Expert Report”). [ECF 170, Exhibit 2] The following facts are found in the Expert

Report:


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       1.        The OC/pepper spray at issue was a Defense Technology “First

Defense” MK-46 aerosol OC projector. Id. at 9. According to the Expert Report,

            d. The designation “MK-46” indicates that the unit contains 46 ounces
               (“formulation weight”) of contents. The unit looks like a small fire
               extinguisher, with an aluminum canister containing the OC
               formulation, and a lever-type actuator. When the actuator is pressed,
               the OC is discharged in a stream… The unit can be refilled and re-used
               many times. The MK46 refills are available in a range of OC strengths
               (see below), including 0.2%, 0.4%, 0.7%, 1.3%, and a mixture of 1.3%
               OC with 2% CS (orthoschlorobenzalmalonitrite) teargas. My
               understanding is that the MK-46 unit at issue in this case contained
               the 1.3% OC formulation.

       Id. at 9-10.

       2.        The effects are limited to the eyes and respiratory system. OC spray

“irritates or inflames the mucous membranes in and around the eyes, nose, throat

and airways.” Id. at 10. As a result, “OC will, within several seconds of contact,

cause an involuntary shutting of the eyes.” Id. “Other physical effects of OC

exposure that are often, but not always, seen can be a runny nose, coughing,

difficulty in breathing, and a burning sensation in sensitive skin areas, including

the face.” Id.

       3.        The effects are short-term. “Depending on the individual, the degree of

exposure, the brand and type of OC and other factors, the duration of OC’s physical

effects usually ranges from about 20 to 90 minutes. Most individuals recover from

the worst effects of the OC within 30-45 minutes.” Id. (alteration added).

       4.        Law enforcement use OC/pepper spray as a form of non-lethal force.

On the “use of force continuum,” which is a “schematic” that “help[s] officers

understand the concept that there are lower-level and higher-level uses of force, and

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that some uses of force are more invasive and more likely to cause serious injury

than others[,]” OC/pepper spray “is typically placed either at Level 3 (‘Physical

Restraint and Control’) or at Level 4 (‘Intermediate Force’) on the Force

Continuum.” Id. at 12 (alterations added). Mr. Kapelsohn “know[s] of no state, law

enforcement agency, training academy or instructor that places OC at Level 5

(Deadly Force) on the Force Continuum.” Id. (alteration added).

      5.     Law enforcement officers in training are often intentionally sprayed

with OC/pepper spray. “Many OC training programs for police and security officers,

as well as most OC instructor programs I am familiar with, also include the

trainees being sprayed with ‘live’ OC units - that is, units containing pepper - to

familiarize the trainees with the effects of OC, and with the steps used to hasten

recovery from those effects.” Id. at 13.

      6.     When law enforcement sprays suspects with OC/pepper spray,

“suspects pepper sprayed by police are not taken to the hospital or provided with

other professional medical care as a matter of course, but in most cases are simply

allowed to flush their faces with cool water, and sometimes take the other steps

listed above to hasten recovery from the effects of the pepper.” Id. at 16. “Clearly

the fact that individuals pepper sprayed by police are not even given medical care

as a standard procedure indicates that pepper spray exposure is not considered

likely to result in death or serious bodily harm.” Id. (emphasis in original).

      7. It goes without saying that a cannister that is never deployed does not

even come close to being a dangerous or deadly weapon within the meaning of the

statute.


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                               LEGAL STANDARD

      This Court recently recited the legal standard for failing to state an offense

pursuant to Federal Rule of Criminal Procedure 12(b). See United States v.

Warnagiris, 699 F. Supp. 3d 31, 39 (D.D.C. 2023). It stated:

      A defendant in a criminal case may move to dismiss an indictment or
      information before trial for “failure to state an offense.” Fed. R. Crim.
      P. 12(b)(3)(B)(v). In determining whether a charging document fails to
      state an offense, the operative question is “whether the allegations, if
      proven, would be sufficient to permit a jury to find that the crimes
      charged were committed.” United States v. Bowdoin, 770 F. Supp. 2d
      142, 146 (D.D.C. 2011) (citing United States v. Sampson, 371 U.S. 75,
      76, 83 S.Ct. 173, 9 L.Ed.2d 136 (1962)). In considering a motion to
      dismiss, a court must accept the allegations in the indictment as true.
      See United States v. Ballestas, 795 F.3d 138, 149 (D.C. Cir. 2015). “In
      ruling on a motion to dismiss for failure to state an offense, a district
      court is limited to reviewing the face of the indictment and, more
      specifically, the language used to charge the crimes.” United States v.
      Sunia, 643 F. Supp. 2d 51, 60 (D.D.C. 2009). The Court's analysis […]
      “must be limited to ‘the four corners of the indictment.’ ” United States
      v. Montgomery, 578 F. Supp. 3d at 59 n.1 (quoting United States v.
      Safavian, 429 F. Supp. 2d at 161 n.2).

      Because “[a]n ‘indictment's main purpose is to inform the defendant of
      the nature of the accusation against him,’ ” an indictment that fails to
      do so because it is not specific enough is insufficient. United States v.
      Ballestas, 795 F.3d at 148-49 (quoting United States v. Hitt, 249 F.3d
      1010, 1016 (D.C. Cir. 2001)). A charging document “is sufficiently
      specific where it (1) contains the elements of the offense charged and
      fairly informs the defendant of those charges so that he may defend
      against them, and (2) enables him ‘to plead [an] acquittal or conviction
      in bar of future prosecutions for the same offense.’ ” United States v.
      Safavian, 429 F. Supp. 2d at 158 (quoting Hamling v. United States,
      418 U.S. 87, 117, 94 S.Ct. 2887, 41 L.Ed.2d 590 (1974)). Ordinarily, an
      indictment need only contain a “plain, concise, and definite written
      statement of the essential facts constituting the offense charged.” Fed.
      R. Crim. P. 7(c)(1); see United States v. Apodaca, 275 F. Supp. 3d 123,
      153 (D.D.C. 2017) (“In most cases, detailed allegations ‘surely are not

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      contemplated by Rule 7(c)(1).’ ” (quoting United States v. Resendiz-
      Ponce, 549 U.S. 102, 110, 127 S.Ct. 782, 166 L.Ed.2d 591 (2007))). But,
      in cases where “guilt depends so crucially upon such a specific
      identification of fact, ... an indictment must do more than simply
      repeat the language of the criminal statute” so that a defendant is not
      forced to “go to trial with the chief issue undefined.” Russell v. United
      States, 369 U.S. 749, 764-66, 82 S.Ct. 1038, 8 L.Ed.2d 240 (1962).
Id.

      A motion to dismiss under Rule 12(b) can be maintained based on claim that

there was no evidence from which grand jury could have indicted defendant, even

though Rule 12(b) is limited to cases involving defects in indictments, because the

issuance of an indictment based on grand jury decision made without an

evidentiary basis is a defect in the indictment. See United States v. Wolff, 840 F.

Supp. 322, 323 (M.D. Pa. 1993). This may happen in cases where the Government

and Defendant do not dispute the facts at issue. Id. (“The facts presented to the

court by both sides are consistent.”).

                                    ARGUMENT

      The penalty enhancement at issue does not define the term “deadly or

dangerous weapon.” See 18 U.S.C. § 1752(a)(1), (b)(1)(A), and (2) (Count 5); 18

U.S.C. § 1752(a)(2), (b)(1)(A), and (2) (Count 10); 18 U.S.C. § 1752(a)(4), (b)(1)(A)

and (2) (Count 12).

      In United States v. Arrington, 309 F.3d 40, 45 (D.C. Cir. 2002), the D.C.

Circuit defined the term “deadly or dangerous weapon” for the purpose of another

penalty enhancement, 18 U.S.C. § 111(a)-(b), which uses the same language. The

D.C. Circuit stated: “For an object that is not inherently deadly, the following

additional element is required: (I) the object must be capable of causing serious

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bodily injury or death to another person and (II) the defendant must use it in that

manner.” United States v. Arrington, 309 F.3d 40, 45 (D.C. Cir. 2002) (cleaned-up;

added numbering; emphasis in original; internal citations omitted).

      This Court has applied the two-pronged Arrington test in several other

January 6th cases where defendants were charged with using OC/pepper spray as a

“deadly or dangerous weapon” for the penalty enhancement at issue. See United

States v. Easterday, No. CR 22-404 (JEB), 2024 WL 1513527, at *6 (D.D.C. Apr. 8,

2024); United States v. Ramey, Case No. 1:22-cr-00184-DLF, ECF 56 at 312-321;

United States v. Robertson, 610 F. Supp. 3d 229, 237–38 (D.D.C. 2022).

   I. CAPABLE OF CAUSING SERIOUS BODILY INJURY

      Under the first prong, the OC/pepper spray must be capable of causing

serious bodily injury. See Arrington, 309 F.3d at 45. Here, because the MK-46 was

empty, it was neither (A) capable of nor (B) caused serious bodily injury. See Wolff,

840 F. Supp. at 323 (holding that a Rule 12(b) motion to dismiss is proper when

there is a lack of probable cause to establish an element of the offense at issue).

          A. Capability

      Capability depends on use. See Arrington, 309 F.3d at 45 (holding that a car

is not capable when used solely “as a mode of transportation”); Easterday,2024 WL

1513527, at *6 (holding that OC/pepper spray is capable when sprayed); Robertson,

610 F. Supp. 3d at 238 (D.D.C. 2022) (in dicta, explaining that even a pen is capable

if “defendant tightly gripped a pen in his hand, raised to his chest, with its tip

facing out toward an approaching officer.”).




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      This OC/pepper spray canister was not sprayed, nor is there any evidence it

had the capability to be sprayed. When the MK-46 reached the front of the crowd, it

was immediately passed back. This suggests that the OC/pepper spray canister was

empty or inoperable and therefore no longer capable of causing serious bodily

injury.

            B. Serious Bodily Injury

      Courts define “serious bodily injury” as “injury involving extreme physical

pain or the protracted impairment of a function of a bodily member, organ, or

mental faculty; or requiring medical intervention such as surgery, hospitalization,

or physical rehabilitation.” United States v. McHugh, No. CR 21-453 (JDB), 2023

WL 2384444, at *5 (D.D.C. Mar. 6, 2023) (quoting U.S.S.G.§ 1B1.1 n.1(M)); see also

Easterday, 2024 WL 1513527, at *3 (same).

          For OC/ pepper spray, courts usually focus on the lower burden of whether it

caused an “injury involving extreme physical pain,” not whether it created

“protracted impairment” of bodily or mental function or required “medical

intervention such as surgery, hospitalization, or physical rehabilitation.” See, e.g.,

Easterday, 2024 WL 1513527, at *12 (“A victim's ‘description of his pain as an 8 or

8.5 on a scale of 1 to 10’ is generally enough to support a finding of extreme physical

pain… [here] [b]oth officers testified that they experienced pain at a 9 or 10 on a 10-

point scale, and one described the feeling as having “battery acid thrown on your

face.”) (alterations added); United States v. Neill, 166 F.3d 943, 949 (9th Cir. 1999)

(affirming application of sentencing enhancement for use of pepper spray as

dangerous weapon based in part on extreme pain evinced by victim's testimony that


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being sprayed felt “like [she] was on fire”) (alteration in original); Harris v. Warden,

2015 WL 5231266, at *3 (W.D. La. Aug. 11, 2015) (upholding state-court

determination that extreme physical pain “would include the pain inflicted by…

pepper spray” based on the victim’s testimony about pain).

          Here, Mr. Rajewski does not contest that OC/pepper spray, when sprayed,

has the capability of causing “an injury involving extreme physical pain.” See

Easterday, 2024 WL 1513527, at *12, Neill, 166 F.3d at 949, Warden, 2015 WL

5231266, at *3. But it was not sprayed here.

   II. INTENT TO “USE” OR “CARRY” THE DEADLY OR DANGEROUS
       WEAPON IN A MANNER CAPABLE OF CAUSING SERIOUS BODILY
       INJURY

          Under the second prong, a defendant must “use” or “carry” the deadly or

dangerous weapon. See Arrington, 309 F.3d at 45. Mr. Rajewski did neither. See

Wolff, 840 F. Supp. at 323 (holding that a Rule 12(b) motion to dismiss is proper

when there is a lack of probable cause to establish an element of the offense at

issue).

             A. “Use”

          Defendant must intend to “use” the deadly or dangerous weapon in a manner

capable of causing serious injury. See Arrington, 309 F.3d at 45; Easterday, 2024

WL 1513527, at *6; Ramey, Case No. 1:22-cr-00184-DLF, ECF 56 at 312-321.

          For OC/pepper spray, a court must conclude that the Government “produce

sufficient evidence on which” the district court could conclude that the defendant

“used” pepper spray as a “dangerous weapon.” See McHugh, No. CR 21-453 at *5.

For example, in Perez, the court determined that the evidentiary record may consist

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of “the form or nature of the pepper spray, its chemical composition, the strength or

concentration of the active agent, the size of the can, whether the spray mechanism

was functional, or the distance or velocity the mechanism was designed to

achieve[.]” See United States v. Perez, 519 F. App'x 525, 527 (11th Cir. 2013). If the

evidentiary record is silent as to these facts about defendant’s use, then there is no

factual basis for the court to conclude that pepper spray is a dangerous weapon. Id.

      Two other January 6th cases are instructive about defendants’ “use” of

OC/pepper spray. In the first case, Easterday, the court determined that defendant

“used” the OC/pepper spray with the intent to cause serious bodily injury. See

Easterday, 2024 WL 1513527, at *11. It explained that “Easterday's manner of use

— spraying into his victims’ faces for upwards of eight seconds and from no further

than ten feet away — was at least capable of causing the average person extreme

physical pain.” Id. In the second case, Ramey, the court determined that defendant

did not “use” the OC/pepper spray with the intent to cause serious bodily injury. See

Ramey, Case No. 1:22-cr-00184-DLF, ECF 56 at 312-321; ECF 49 at 2. It explained,

“While the government may have shown that pepper spray is capable of causing

serious bodily injury or death, it has not proven beyond a reasonable doubt that Mr.

Ramey used it in such a manner… The video shows Mr. Ramey deploying a quick

burst of pepper spray towards Officer Riggleman's eyes no more than 1 second. The

spray toward Officer Williams's eyes appears to be a similar duration.” Id. ECF 56

at 312-321. Moreover, the Court stated, “I do not find that the government has

proven beyond a doubt that Mr. Ramey was closer than 6 feet from either officer,

the distance at which the officers are trained to spray and the approximate distance


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at which they were sprayed during training. And the government provided

absolutely no evidence or testimony that Mr. Ramey was closer than 3 feet to the

officers, the distance within which serious bodily injury, needling, and retina

damage can occur.” Id. (omitted internal citations).

      Here, this case is distinguishable. Mr. Rajewski did not “use” the OC spray at

all. Mr. Rajewski merely passed MK-46 over his head to another member of the

crowd who passed it forward to someone who never deployed the cannister and

eventually left with it from the grounds. Nobody ever sprayed it and the

government admits this now.

      Therefore, the Government will not be able to introduce any facts into

evidence that Mr. Rajewski “used” the OC spray. See Perez, 519 F. App'x at 527

(explaining that the factual record must contain evidence about defendant’s “use” of

OC/pepper spray).

         B. “Carried”

      Defendant must intend to “carry” the deadly or dangerous weapon in a

manner capable of causing serious injury. See Arrington, 309 F.3d at 45 (D.C. Cir.

2002). Unlike Easterday and Ramey where defendants were charged solely with

their “use” of OC/pepper spray, there does not appear to be another January 6 case

(besides Mr. Rajewski’s former co-defendants, who have not yet proceeded through

trial) where the defendant has also been charged with “carrying” OC/pepper spray.

      The Supreme Court, in Muscarello, defined “carried” as a “knowingly

possess[ing].” Muscarello v. United States, 524 U.S. 125, 126–27 (1998). So too did

the D.C. Circuit. See, e.g., United States v. Toms, 136 F.3d 176, 181 (D.C. Cir. 1998)


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(explaining that for the defendant to be convicted of knowingly possessing a

firearm, “the jury had to credit the officers' testimony regarding the location of the

gun—on the passenger's seat of the car Toms was driving—and conclude that Toms

was aware of the gun's presence.”). This Court, in other January 6 cases, has also

consistently held that “carried” means that the defendant knowingly possessed the

deadly or dangerous weapon. See, e.g., United States v. Hostetter, No. 1:21-CR-392-

L-RCL, 2023 WL 4539842, at *5 (D.D.C. July 13, 2023) (“Mr. Hostetter then carried

his backpack containing the hatchet onto Capitol Grounds and retained that

backpack the entire time he was there.”); Robertson, 610 F. Supp. 3d at 238 (“The

government's best evidence is the body-worn-camera footage showing Robertson

raising the stick in front of his chest and clutching it in a military-trained ‘port

arms’ position as officers approached him, while working their way through the

crowd just outside the Capitol building.”); United States v. Reffitt, 602 F. Supp. 3d

85, 92 (D.D.C. 2022) (defendant said “I had my ... 40 on my side.”).

                1. Possession

      The D.C. Circuit has held that the Government may not establish a

defendant's constructive possession of contraband solely by showing that the

defendant had shared access with others. See United States v. Harris, 515 F.3d

1307, 1310 (D.C.Cir.2008) (explaining that in joint-occupancy settings, the

government must present some evidence of “knowing dominion and control” because

“a contrary view could unfairly sweep up unwitting roommates or housemates”)

(emphasis in original). In joint-occupancy settings, there needs to be some




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“additional evidence” of control. United States v. Boyd, 803 F.3d 690, 692 (D.C. Cir.

2015).

         Here, Mr. Rajewski touched an object he could not even identify as an MK-46

for approximately seven seconds after it was held over his head by the person

behind him.

                  2. Knowing

         The Supreme Court has consistently held that “knowingly” means that the

defendant knows the “characteristics” of the item he possesses. See, e.g., Staples v.

United States, 511 U.S. 600 (1994) (defendant must know that the item he

possessed had the “characteristics” that brought it within the statutory definition of

a firearm); Rogers v. United States, 522 U.S. 252, 255 (1998) (“petitioner's admission

that he knew the item was a silencer constituted evidence sufficient to satisfy the

mens rea element of the charged offenses.”) (emphasis in original). So too has the

D.C. Circuit. See United States v. Alston-Graves, 435 F.3d 331, 337 (D.C. Cir. 2006)

(“the word ‘knowingly’... means that the defendant realized what she was doing and

was aware of the nature of her conduct and did not act through ignorance, mistake

or accident.”).

         Here, there is no evidence that Mr. Rajewski knew what was being passed

over his head at all, let alone that the MK-46 was, indeed, OC/pepper spray. There

is also no evidence that the cannister had any contents or was operable at all. Mr.

Rajewski looked at the canister for approximately two seconds. Moreover, Mr.

Rajewski’s possession of the MK-46 was orchestrated by the man behind him. This

means Mr. Rajewski’s conduct was motivated by blind ignorance, not knowledge.


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See Staples, 511 U.S. at 600; Rogers, 522 U.S. at 255; Alston-Graves, 435 F.3d at

337.

                                   CONCLUSION

       WHEREFORE, for the foregoing reasons and such other reasons that may

appear just and proper, Mr. Rajewski respectfully asks that this Court find that

there was no evidence for the grand jury to conclude that lachrymal agent

(“OC/pepper spray”) is a “deadly or dangerous weapon” within the meaning of the

penalty enhancement. See 18 U.S.C. § 1752(a)(1), (b)(1)(A), and (2) (Count 5); 18

U.S.C. § 1752(a)(2), (b)(1)(A), and (2) (Count 10); 18 U.S.C. § 1752(a)(4), (b)(1)(A)

and (2) (Count 12). Consequently, this Court should enter an Order dismissing

Counts 5, 10 & 12 of the Second Superseding Indictment [54]. See Wolff, 840 F.

Supp. at 323 (holding that a Rule 12(b) motion to dismiss is proper when there is a

lack of probable cause to establish an element of the offense at issue).

       Defendant, by counsel, requests a hearing on this motion.


                                        Respectfully Submitted,



                                         Allen H. Digitally          signed by
                                                            Allen H. Orenberg

                                         Orenberg           Date: 2024.09.04
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                     CERTIFICATE OF SERVICE

      I hereby certify that this Motion to Dismiss of Counts 5, 10 & 12 in the

Second Superseding Indictment For Failing to State an Offense and a proposed

Order was filed using the CM/ECF system, thereby providing notice of service to all

case registered parties this 4th day of September, 2024.




                                       Allen H. Digitally signed by
                                                Allen H. Orenberg

                                       Orenberg Date: 2024.09.04
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                                       Allen H. Orenberg




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